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UNITED STATES DISTRICT COURT
DISTRICT OF NEBRASKA
PDF FILE WITH AUDIO FILE ATTACHMENT

      24-00042
      USA v. Slater
        Defendant(1) David Franklin Slater
      Initial Appearance




      Case Type :                    cr
      Case Number :                  24-00042
      Case Title :                   USA v. Slater

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